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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

BRYCE CARRASCO,                                *

       Plaintiff,                              *

v.                                             *              Case No.: SAG-21-532

M&T BANK,                                      *

       Defendant.                              *

*      *       *       *       *         *     *      *       *       *       *       *       *

                       MEMORANDUM OF LAW IN SUPPORT OF
                    DEFENDANT M&T BANK’S MOTION TO DISMISS

       Defendant M&T Bank (“M&T”), through its undersigned counsel, respectfully submits

this Memorandum of Law in Support of its Motion to Dismiss the Complaint filed by Plaintiff

Bryce Carrasco. As explained below, Plaintiff is unable to state a plausible claim for relief, and

his Complaint against M&T should be dismissed.

                                    I.       INTRODUCTION

       Plaintiff’s claims in this case arise out of: (1) Plaintiff’s failure to understand and comply

with his basic repayment obligations under the Credit Agreement he entered into with M&T; and

(2) Plaintiff’s failure to check his mail or otherwise monitor his account during a 3-month-long

sojourn away from the address that he provided to M&T when he opened the credit card

account—and to which address all correspondence with Plaintiff was sent.

       While Plaintiff’s bombastic Complaint rails against M&T, alleging that “the Defendant

weaponizes their [sic] position of power against defenseless consumers to destroy their credit

scores,” (ECF No. 1, ¶ 20), and describing Plaintiff’s freely contracted-for Credit Agreement as

being “the definition of inequitable” and a “farse” [sic], (id. ¶¶ 63-63), Plaintiff himself is hardly
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the unsophisticated consumer that his self-represented Complaint suggests. According to his

public LinkedIn page, Mr. Carrasco received a bachelor’s degree in Business Administration

from one of Maryland’s top universities in 2019, and he is currently employed as an investment

banking analyst in the Baltimore office of a global financial institution. And despite his having

penned technical personal finance articles for popular websites such as “Seeking Alpha”

(www.seekingalpha.com), his Complaint now alleges his inability to comply with the terms of a

common credit agreement—despite his undisputed receipt and possession of that agreement

(attached as Exhibit 3 to his Complaint).     Thus, while the pro se Plaintiff may be entitled to

certain solicitudes as to his ability to plead a claim, his alleged plight does not merit any special

sympathy.

       As explained in detail below, Plaintiff’s Complaint should be dismissed because the

several statutory causes of action alleged fail to state a plausible claim for relief.         First,

Plaintiff’s Fair Credit Reporting Act (“FCRA”) claim (Count 1) fails as a matter of law because

Plaintiff has not alleged a “bona fide dispute” with M&T. Second, Plaintiff’s claim under the

Truth in Lending Act (“TILA”) (Count 2) is facially implausible and premised on conclusory

allegations that are contradicted by the attachments to his pleading. Third, the Fair Credit

Billing Act (“FCBA”) claim (Count 3) fails as a matter of law because the Complaint and

exhibits thereto demonstrate that Plaintiff did not send his notice to M&T at the statutorily-

mandated address for FCBA correspondence and because Plaintiff has failed to allege a “billing

error” as defined by the Act. Fourth, Plaintiff’s Fair Debt Collection Practices Act (“FDCPA”)

claim (Count 4) fails as a matter of law because M&T is not a “debt collector” for purposes of

the FDCPA. Finally, there is no private cause of action under the Federal Trade Commission

Act (“FTC Act”) (Count 5). Accordingly, Plaintiff’s Complaint should be dismissed.




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                                II.     FACTUAL ALLEGATIONS

        On July 17, 2020, Plaintiff applied and was approved for an M&T Visa Credit Card with

Rewards. (ECF No. 1, ¶ 5). Subsequently, on or around July 21, 2020, Plaintiff received an

undated letter that included the physical credit card, a disclosure identifying the various finance

charges associated with the credit card, and the Credit Agreement. (Id., ¶¶ 8, 9, 20; Exhibits 1

and 3).1 These documents were mailed to Plaintiff at 100 East Redwood Street, Apt 2013,

Baltimore, MD 21202, Plaintiff’s residence and “the address on file with M&T.”                        (Id.,

¶ 15; Exhibit 1).

        Shortly after receiving the Letter and the Credit Agreement, Plaintiff activated the credit

card by transferring to the new card a $2,200 balance that Plaintiff owed on a credit card account

with Bank of America. (ECF No. 1, ¶ 12). The balance transfer took place on August 3, 2020.

Despite the fact that Plaintiff’s new M&T account now carried a balance, Plaintiff did not make

any payments on the account until December 17, 2020. Plaintiff did not make any payments

during that period in spite of his agreement to “pay at least the Minimum Monthly Payment”,

defined in the Credit Agreement as the “greater of (a) $15.00; or (b) 2.5% of the Outstanding

Balance[2] . . . plus any past due amounts”. (Id., ¶ 13, 21; see also ECF No. 15-5, “Method of

Payment” and “Minimum Monthly Payment”).

        In September 2020, Plaintiff “relocated” from his residence in Baltimore and moved in

with his parents in Arnold, Maryland. (ECF No. 1, ¶ 15). Plaintiff lived with his parents for

approximately three months, during which time Plaintiff never returned to his residence to pick

1
  The Credit Agreement attached as Exhibit 3 to the Complaint is incomplete and illegible. However,
Plaintiff also has filed a legible and complete version of the same Credit Agreement, albeit in a different
format, as part of ECF No. 15. For purposes of clarity, M&T will cite to the Credit Agreement filed at
ECF No. 15-5, rather than the illegible version attached to the Complaint.
2
  “Outstanding Balance” is defined as “the total dollar amount of Your obligation under this Agreement
for all Transactions, interest, finance charges, fees and any other costs.”


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up his mail. (Id., ¶ 17). As a result, Plaintiff did not receive any of the letters sent by M&T

advising him that his credit card account was past due and that he was in default of his payment

obligations until he returned to his apartment in the mid-December 2020.3 (Id., ¶ 18; Exhibit 2).

       As indicated in the collection letter dated November 5, 2020, M&T reported Plaintiff’s

delinquency to the consumer credit reporting agencies. (ECF No. 1, Exhibit 2). Plaintiff objected

and filed disputes with Experian, TransUnion, and Equifax. (ECF No. 1, ¶ 22). According to the

Complaint, Plaintiff complained that M&T “never provided adequate disclosure of the material

terms of the credit card” despite the fact that the reverse side of the letter that is attached as

Exhibit 1 “contained material terms underlying the credit card.” (Id., ¶¶ 9, 37; Exhibit 1).

Plaintiff also complained about M&T’s alleged failure to produce “the current contract

underlying the account”—in spite of the fact that M&T provided Plaintiff with the Credit

Agreement at the same time it provided him the credit card. (Id., ¶¶ 8, 32, 37). Notably,

Plaintiff does not deny the existence of the debt; nor does Plaintiff deny his failure to make a

monthly payment for three months. As a result, “[a]fter investigating the disputed with the

CRAs, [M&T] did not make any material changes to the reporting made to the CRAs. The M&T

Account was reported as delinquent and verified as such with no other comments.” (Id., ¶ 27).

       This lawsuit followed.

                                III.    STANDARD OF REVIEW

       Rule 12(b)(6) authorizes the dismissal of a complaint if it fails to state a claim upon

which relief can be granted.       “[A] plaintiff’s obligations to provide the ‘grounds’ of his

‘entitlement to relief’ requires more than labels and conclusions, and a formulaic recitation of the

elements of a cause of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).

3
 In accordance with the Credit Agreement, each collection letter was sent to Plaintiff at the address he
provided to M&T. (ECF No. 15-5; “Communications Regarding Account, Statements and Notices”).


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A plaintiff is required to plead facts in a complaint that show an entitlement to relief that is

“plausible on its face.” Id. at 570. This ‘plausibility’ standard “asks for more than a sheer

possibility that a defendant has acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

See A Society Without A Name v. Virginia, 655 F.3d 342, 346 (4th Cir. 2011). In reviewing a

motion under Rule 12(b)(6), the Court “assum[es] as true the complaint’s factual allegations and

constru[es] ‘all reasonable inferences’ in favor of the plaintiff.” Semenova v. Md. Transit

Admin., 845 F.3d 564, 567 (4th Cir. 2017).

       Pro se plaintiffs generally are held to a “less stringent standard[ ]” than lawyers, and

courts construe their pleadings liberally, no matter how “inartfully pled.” Erickson v. Pardus,

551 U.S. 89, 94 (2007) (per curiam) (quoting Estelle v. Gamble, 429 U.S. 97, 106 (1976)).

Nonetheless, a pro se complaint must still meet the “minimum threshold of plausibility” under

Twombly and Iqbal. Robb v. Md. Aviation Admin., JKB-14-1421, 2014 WL 4056030, at *3 (D.

Md. Aug. 15, 2014).      While pro se complaints “represent the work of an untutored hand

requiring special judicial solicitude,” district courts are not required to “conjure up questions

never squarely presented to them” or to “construct full blown claims from…fragments.”

Beaudett v. City of Hampton, 775 F.2d 1274, 1277–78 (4th Cir. 1985).

                                      IV.     ARGUMENT

A. Plaintiff’s FCRA Claim Fails as a Matter of Law Because He Cannot Allege a
   “Bona Fide” Dispute with M&T (Count 1).

       Plaintiff alleges that M&T willfully violated the FCRA, and, specifically, 15 U.S.C.

§ 1681s-2(b), “by failing to report the fact that plaintiff was disputing the underlying credit

terms with the Defendant.” (ECF No. 1, ¶ 35) (emphasis added). That is, Plaintiff never

disputed the existence of the debt, the amount of the debt, the fact of his non-payment, or that the

charges assessed were inconsistent with the terms of his Credit Agreement with M&T. Rather,



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Plaintiff only disputed “the underlying credit terms” themselves and M&T’s purported failure to

provide a copy of the Credit Agreement to him (id. ¶ 37)—despite Plaintiff’s admission that he

received the Credit Agreement along with the credit card itself (id. ¶ 5). Thus, because Plaintiff

never challenged the accuracy of the information furnished to the consumer credit reporting

agencies, M&T was under no obligation to report the account as disputed, and Plaintiff’s FCRA

claim fails as a matter of law.

       Section 1681 s–2(b) outlines the duties a furnisher of information has when given notice

of a dispute concerning inaccurately reported information. 15 U.S.C. § 1681s–2(b)(1). To bring a

claim under § 1681s–2(b), “a plaintiff must establish three elements: (1) that he or she notified

the consumer reporting agency of the disputed information, (2) that the consumer reporting

agency notified the defendant furnisher of the dispute, and (3) that the furnisher then failed to

investigate and modify the inaccurate information.” Ausar-El v. Barclay Bank Delaware, PJM-

12-0082, 2012 WL 3137151, at *3 (D. Md. July 31, 2012). The federal courts have recognized

that only a “bona fide dispute” may give rise to liability under the FCRA. See, e.g., Shap v. Cap.

One Fin. Corp., 2012 WL 1080127, at *4, n. 27 (E.D. Pa. Mar. 30, 2012) (collecting cases).

This is because furnishers of information are under no obligation to mark an account as disputed

if “the dispute is frivolous or irrelevant”. 15 U.S.C. § 1681s-2(a)(8)(F)(i). Section 1681s–

2(a)(8)(D), which provides clear guidance to consumers seeking to dispute the accuracy of

information furnished to the consumer reporting agencies, is instructive in determining whether a

consumer dispute is “bona fide”:

       A consumer who seeks to dispute the accuracy of information shall provide a
       dispute notice directly to such person at the address specified by the person for
       such notices that--
              (i) identifies the specific information that is being disputed;
              (ii) explains the basis for the dispute; and




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                (iii) includes all supporting documentation required by the furnisher to
                substantiate the basis of the dispute.

15 U.S.C.A. § 1681s–2(a)(8)(D). See Palouian v. FIA Card Servs., 2013 WL 1827615, at *3

(E.D. Pa. May 1, 2013) (utilizing the statutory guidance to determine whether the dispute at issue

was “bona fide”).

        The well-pleaded allegations of the Complaint indicate that Plaintiff’s purported

“dispute” is not a bona fide dispute for purposes of the FCRA. Nowhere in his Complaint (or in

the correspondence that comprises his purported “dispute”) did Plaintiff “identif[y] the specific

information that is being disputed,” “explain[] the basis for the dispute,” or “include[] all

supporting documentation required by the furnisher to substantiate the basis of the dispute.” 15

U.S.C.A. § 1681s–2(a)(8)(D). Rather, as the Complaint makes clear, Plaintiff’s disagreement

with M&T merely pertained to (1) “the underlying credit terms” themselves, and (2) “the fact

that M&T never provided adequate disclosure of the material terms of the credit card and failed

to produce documentation when requested multiple times by Plaintiff.” (ECF No. 1, ¶¶ 30, 37).4

Thus, while Plaintiff may quibble with M&T’s customer relations practices—indeed, he later

contacted M&T’s Investor Relations office, see infra—he never actually challenged the accuracy

of the information that M&T provided to the consumer reporting agencies or asserted that this

information was inconsistent with the terms of the Credit Agreement. Accordingly, Plaintiff’s

purported “dispute” with M&T is not a “bona fide dispute” for purposes of the FCRA, and M&T

was under no obligation to report Plaintiff’s account as disputed. As a result, Plaintiff’s claims

in Count 1 fail as a matter of law.


4
  In this regard, Plaintiff’s claims are readily distinguishable from those at issue in Saunders v. Branch
Banking and Trust Co. of Va., 526 F.3d 142 (4th Cir. 2008), where the plaintiff specifically disputed the
imposition of late charges and penalties on his account. Here, however, Plaintiff does not dispute that
M&T’s reporting was entirely consistent with the terms of the Credit Agreement—only that M&T failed
to provide him a copy of that Agreement on demand.


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B. Plaintiff Fails to State a Plausible TILA Claim (Count 2).

          Plaintiff accuses M&T of violating TILA in two respects. First, Plaintiff claims that

M&T failed to “establish and maintain an Internet site on which the creditor shall post the

written agreement between the creditor and the consumer for each credit card account under an

open-end consumer credit plan” in violation of 15 U.S.C. § 1632(d)(1). (ECF No. 1, ¶ 41).

Next, Plaintiff contends that M&T did not “clearly and conspicuously set forth ‘any minimum or

fixed amount which could be imposed” in violation of 15 U.S.C. § 1663(1). (Id.,

¶ 42). Not only has Plaintiff failed to state a claim for either alleged violation, but, even if

Plaintiff could allege sufficient facts, Plaintiff is not entitled to the relief he seeks.

          As to the first claim, Plaintiff baldly asserts that M&T has “failed to post a written

agreement pertaining specifically to open-end credit plans categorized as M&T Visa Credit Card

with Rewards”, but does not include any allegations setting forth Plaintiff’s effort to locate such

agreement on M&T’s website in order to support his conclusory allegation that M&T “failed to

post” it. (ECF No. 1, ¶ 41). The absence of such allegations in the Complaint is telling; the very

written agreement that Plaintiff contends is not posted on the Internet is readily available on

M&T’s website and has been available there at all times relevant hereto. See

https://www.rewards.mtb.com/ProgramInfo/4216/media/MT_Bank_Rewards_TCs.pdf (accessed

March 30, 2021).5 This agreement is accessible through the “Terms and Conditions” link on the

landing page for the M&T Visa Credit Card with Rewards, the credit card that Plaintiff received

from M&T. See rewards.mtb.com (accessed March 30, 2021). Accordingly, Plaintiff has failed

to state a plausible claim against M&T under 15 U.S.C. § 1632(d)(1).




5
    A copy of the website is attached as Exhibit A for the Court’s convenience.


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       Much of the same can be said for Plaintiff’s claim under 15 U.S.C. § 1663(1), albeit for a

different reason. This section of TILA (and Regulation Z, 12 C.F.R. § 1026.16 (2014)) regulates

the advertising for open-end credit plans by requiring advertisements describing one or more of

the favorable terms of an open-end credit plan to reflect the terms actually available and to

disclose other important terms of the plan. See 12 Hawkland UCC Series § 3:26. In other

words, a creditor may not single out one or more favorable aspects of the advertised credit plan

without mentioning other important terms. See generally 15 U.S.C. § 1663. For purposes of 15

U.S.C. § 1663(1), “the minimum or fixed fees” that are required to be disclosed “are those that

are considered finance charges under Regulation Z (12 C.F.R.) § 226.4.” 1 Consumer Law Sales

Practices and Credit Regulation § 307, n. 2.

       As evidenced by the exhibits attached to Plaintiff’s Complaint, M&T fully complied with

the disclosure requirements of 15 U.S.C. § 1663(1). The reverse side of the letter attached as

Exhibit 1 is a table titled “Important Information about your M&T Visa Credit Card with

Rewards”; this table discloses the interest rate and all of the other finance charges associated

with the M&T Visa Credit Card with Rewards that Plaintiff received. Plaintiff appears to take

issue with the fact that the disclosure does not identify “any minimum payment obligation”. Yet,

that is not what 15 U.S.C. § 1663(1) requires and, in any event, the Credit Agreement that was

included with the letter disclosed Plaintiff’s minimum payment obligation. (Id., ¶ 8, 20; ECF

No. 15-5, “Method of Payment” and “Minimum Monthly Payment”). Accordingly, Plaintiff is

wrong on both the law and the facts.

       Plaintiff artfully tries to obscure the defects in his claim. That is, rather than address the

documents that pertain to his credit card, he refers to and attaches to the Complaint a document

that relates to an entirely different credit card: the M&T Visa Signature Credit Card. (ECF No.




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1, ¶¶ 43-44, Exhibit 4). Because Plaintiff admits that he obtained the M&T Visa Credit Card

with Rewards, his reliance on a document that concerns the M&T Visa Signature Credit Card is

misplaced and does not support his claim against M&T. Plaintiff, therefore, has failed to allege a

disclosure violation under 15 U.S.C. § 1663.

       In addition to Plaintiff’s failure to state a claim under TILA, Plaintiff also has failed to

allege any actual injury. Instead, Plaintiff seeks the imposition of a financial penalty against

M&T pursuant to 15 U.S.C. § 1611. (ECF No. 1, ¶¶ 40, 47). “Plaintiff[], however, cannot seek

to recover criminal penalties in a civil action.” Vrabel v. JP Morgan Chase Bank, N.A., 2009

WL 2421856, at *2 (N.D. Cal. Aug. 6, 2009) (rejecting the plaintiff’s claim to recover penalties

under 15 U.S.C. § 1611). Accordingly, even if Plaintiff could state a claim, he is not entitled to

the relief he seeks and otherwise lacks standing to pursue the claim. See, e.g., Gutierrez v. First

Nat’l Bank of Am., GJH-18-479, 2018 WL 4562959, at *4–5 (D. Md. Sept. 21, 2018) (dismissing

TILA claim for lack of standing because bare procedural violation of TILA did not cause injury

in fact). Accordingly, the TILA claim should be dismissed.

C. Plaintiff’s FCBA Claim Fails as a Matter of Law Because He Did Not Comply with
   Statutory Notice Requirements (Count 3).

       Section 1666(a) provides a procedural framework to govern correction of billing errors

on consumer credit card statements.      15 U.S.C. § 1666(a).      This section imposes specific

requirements for the form and contents of a billing error notice. Id. Importantly, a creditor’s

obligation to follow the FCBA’s error resolution procedures is only triggered by valid notice of a

billing error. Id. (establishing requirements for a valid notice); Dawkins v. Sears Roebuck & Co.,

109 F.3d 241, 243 (5th Cir. 1997) (writing that failed to satisfy requirements of Section 1666 did

not require response from creditor); Greisz v. Household Bank, 8 F. Supp. 2d 1031, 1042 (N.D.

Ill. 1998) (improper billing error notice requires no response from creditor), aff’d 176 F.3d 1012



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(7th Cir. 1999). Accordingly, “[t]o succeed on an FCBA claim, a plaintiff must show (l) the

existence of a billing error, (2) timely notification of the billing error, and (3) failure of the bank

issuing the card to comply with the procedural requirements of § 1666.” Farrish v. Navy Fed.

Credit Union, DKC-16-1429, 2017 WL 4418416, at *3 (D. Md. Oct. 5, 2017) (citation omitted),

aff’d, 711 F. App’x 189 (4th Cir. 2018).

        Here, Plaintiff alleges that he “delivered proper notice to M&T on 12/31/2020” of

potential billing errors and that M&T violated the Fair Credit Billing Act when it failed to

provide Plaintiff with copies of certain documents. (ECF No. 1, ¶¶ 48, 49-50). As an initial

matter, to the extent Plaintiff’s claim is predicated on an alleged notice provided on December

31, 2020, he has failed to state a plausible claim under the FCBA because nowhere in his

91-paragraph Complaint does Plaintiff allege that he sent any notice to M&T on December 31,

2020.   Nor, for that matter, does Plaintiff allege the substance of that notice.          Assuming,

however, that Plaintiff is referring to the December 30, 2021 email alleged in paragraph 22 of the

Complaint, Plaintiff has failed to allege that he transmitted a valid billing notice sufficient to

trigger any obligations under the FCBA because: (1) the email was not sent to the address

specified in the “Notice of Your Billing Rights”; and (2) the email did not provide notice of a

“billing error”, as that phrase is defined under the FCBA and Regulation Z. See 15 U.S.C. §

1666; 12 C.F.R. § 226.13. Accordingly, no obligations under the FCBA were triggered and,

Count 3 of the Complaint should be dismissed.

   1. Plaintiff failed to send any notice to the FCBA-specified address.

        First, Plaintiff’s email is legally ineffective because it was not sent to the address

specified in the billing statements; instead, Plaintiff’s email was sent to M&T’s investor relations




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department. (ECF No. 16-1 at 25-26).6 “[A] creditor’s obligations under Section 1666 are not

triggered unless, within sixty days of transmitting a billing statement, it ‘receives at the address

disclosed under section 1637(b)(10) of this title’ a written notice from the obligor detailing the

alleged error.” Maranto v. CitiFinancial Retail Servs., Inc., 448 F. Supp. 2d 758, 760-61 (W.D.

La. 2006) (quoting 15 U.S.C. § 1666) (emphasis added). Section 1637(b)(10), which governs

disclosures regarding open-end consumer credit plans, provides that creditors shall disclose in

each billing statement sent to a cardholder “the address to be used by the creditor for the purpose

of receiving billing inquiries from the obligor.” 15 U.S.C. § 1637(b)(10). In Maranto, the

creditor’s billing rights summary provided that billing error notices be sent “to the return address

shown on the front of your statement,” which was P.O. Box 22060 in Tempe, Arizona. 448 F.

Supp. 2d at 761.        The cardholder, however, sent the notices to P.O. Box 22066, which,

coincidentally, was also assigned to the creditor. Id. The court rejected the argument that notice

was sufficient because it was received by the creditor:

        Section 1666 specifically provides that the creditor must receive the notice at the
        specified address. Since [plaintiff] does not dispute that he did not send written
        notice addressed to the specified address, he cannot maintain his claim pursuant to
        Section 1666.

Id. at 761 (emphasis in original). Thus, a creditor’s obligations under FCBA are not triggered

unless a valid billing error notice is received by the creditor at its specified address.7

        Here, beyond the conclusory allegation that “proper notice” was provided, Plaintiff does

not contend that his email notice constituted a valid billing error notice sufficient to trigger any

obligations under the FCBA. As Plaintiff’s own exhibits demonstrate, Plaintiff was notified of

6
 This Court can consider Plaintiff’s December 30, 2020 email without converting this motion into one for
summary judgment because Plaintiff expressly relies and refers to the email in his Complaint (ECF No. 1,
¶ 22). See Goines v. Valley Cmty. Servs. Bd., 822 F.3d 159, 166 (4th Cir. 2016).
7
  Only when a valid billing notice is sent to the correct address must a creditor adhere to the steps set forth
in Section 1666 for resolving the dispute. See 15 U.S.C. § 1666.


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the address to which to send a notice of billing errors. (ECF No. 15-5, “What To Do If You Find

A Mistake On Your Account”). Plaintiff’s Credit Agreement sets forth the “Notice of Your

Billing Rights” which specifically provides in pertinent part:

          If you think there is an error on Your statement, write Us at:

          M&T Bank
          P.O. Box 8405
          Wilmington, DE 19899-8405

          In Your letter, give Us the following information:
               Account information: Your name and account number
               Dollar Amount: The dollar amount of the suspected error
               Description of the problem: If You think there is an error on Your bill,
                 describe what You believe is wrong and why You believe it is a mistake
                                            *       *     *
          You must notify Us of any potential errors in writing. You may call US, but if
          You do We are not required to investigate any potential errors and You may
          have to pay the amount in question.

Id. (emphasis added).8 See also Plaintiff’s monthly credit card statement dated December 16,

2020, attached as Exhibit B (same).9 Plaintiff readily acknowledges that he did not send the

alleged billing error notice to P.O. Box 8405, Wilmington, DE 19899-8405. Instead, Plaintiff

alleges—and the exhibits attached to the Complaint confirm—that he sent an email to investor

relations at M&T on December 30, 2020. (ECF No. 1, ¶ 22; ECF No. 16-1 at 25-26 (“To:

ir@mtb.com”)). An email, however, is insufficient to trigger any duties under the FCBA where,

as here, the “Notice of Your Billing Rights” specified that all such notices must be received at a

specified post office box in Wilmington, Delaware—and warned that failure to follow the

specific procedure would not preserve the cardholder’s rights. Accordingly, Plaintiff is unable to


8
  The “Notice of Your Billing Rights” provided to Plaintiff in the Credit Agreement attached as Exhibit 3
to the Complaint (and reflected in the account statement attached hereto as Exhibit B) is virtually identical
to the Billing Rights form in Appendix G to Regulation Z, 12 C.F.R. § 226.1 et seq.
9
    See fn. 6, supra., and ECF No. 1, ¶ 70 (alleging what appears “on page 2 of each monthly statement”).


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allege that he provided notice of a billing error sufficient to trigger any obligations under

Sections 1666 or 1666a. As a result, his FCBA claim must be dismissed.

   2. Plaintiff’s email does not constitute notice of a valid “billing error.”

       Second, and equally fatal to his claim, Plaintiff is unable to allege that his email

contained a notice of an error that falls within the definitions and standards for “billing errors”

under the FCBA and its implementing regulations.

       For purpose of [the FCBA], a “billing error” consists of any of the following:
       (1) A reflection on a statement of an extension of credit which was not made to
       the obligor or, if made, was not in the amount reflected on such statement.
       (2) A reflection on a statement of an extension of credit for which the obligor
       requests additional clarification including documentary evidence thereo
       (3) A reflection on a statement of goods or services not accepted by the obligor or
       his designee or not delivered to the obligor or his designee in accordance with the
       agreement made at the time of the transaction.
       (4) The creditor's failure to reflect properly on a statement a payment made by the
       obligor or a credit issued to the obligor.
       (5) A computation error or similar error of an accounting nature of the creditor on
       a statement.
       (6) Failure to transmit the statement required under §1637(b) as entitled to the last
       address of the obligor which has been disclosed to the creditor, unless that address
       was furnished less than 20 days before the end of the billing cycle for which this
       statement is required.
       (7) Any other error described in the regulations of the board.

15 U.S.C. § 1666(b). Applicable regulations define a “billing error” as follows:

       (1) A reflection on or with a periodic statement of an extension of credit that is
       not made to the consumer or to a person who has the actual, implied or apparent
       authority to use the consumer's credit card or open end credit plan.
       (2) A reflection on or with a periodic statement of an extension of credit that is
       not identified in accordance with the requirements of §226.7(b) and 226.8.
       (3) A reflection on or with a periodic statement of an extension of credit for
       property or services not accepted by the consumer or the consumer's designee, or
       not delivered to the consumer or the consumer's designee as agreed.
       (4) A reflection on a periodic statement of the creditor's failure to credit properly a
       payment or other credit issued to the consumer's account.



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        (5) A reflection on a periodic statement of a computational or similar error of an
        accounting nature that is made by the creditor.
        (6) A reflection on a periodic statement of an extension of credit for which the
        consumer requests additional clarification, including documentary evidence.
        (7) The creditor's failure to mail or deliver a periodic statement to the consumer's
        last known address if that address was received by the creditor, in writing, at least
        20 days before the end of the billing cycle for which the statement was required.

12 C.F.R. 226.13(a).

        Here, Plaintiff’s December 30, 2020 email is not a proper notice of billing error under the

FCBA, but, rather, a complaint directed at M&T’s investor relations department regarding the

bank’s reporting to the consumer credit reporting agencies. (ECF No. 1, ¶ 22; ECF No. 16-1 at

25-26). Indeed, Plaintiff does not allege (and his email does not reference): a specific extension

of credit that was not made to him or a person who had the authority to use his card; a reflection on

a periodic statement that is not identified as required; an extension of credit for property or services

not accepted by him or his designee; a reflection on the statement of the failure to properly credit

his account or a computational error. Absent any such alleged “billing error”, Plaintiff is unable to

state a claim under the FCBA. See Esquibel v. Chase Manhattan Bank U.S.A., N.A., 2008 WL

1881494, at *3 (5th Cir. Apr. 29, 2008) (affirming dismissal of FCBA claim because

complained-of charges “do not constitute billing errors” as defined in Section 1666); Langenfeld

v. Chase Bank USA, N.A., 537 F. Supp. 2d 1181, 1194 (N.D. Okla. 2008) (the “written notice

must meet the statutory definition of ‘billing error’ contained in 15 U.S.C. § 1666(b)”); Greisz, 8

F. Supp. 2d at 1042 (consumer’s notice insufficient to trigger compliance duties because alleged

dispute regarding the quality of an accepted good or service did not meet definition of “billing

error” under § 1666(b)); Thomas v. Discover Fin. Servs., 2007 WL 2746846, at *4 (N.D. Ill.

Sept. 13, 2007) (complaint dismissed because alleged errors did not qualify as “billing errors”).




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D. Plaintiff’s FDCPA Claim Fails as a Matter of Law Because M&T is Not a
   “Debt Collector” Under the FDCPA (Count 4).

       “To establish a FDCPA claim, a plaintiff must prove that: (1) the plaintiff has been the

object of collection activity arising from consumer debt; (2) the defendant is a debt collector as

defined by the FDCPA; and (3) the defendant has engaged in an act or omission prohibited by

the FDCPA.” Boosahda v. Providence Dane LLC, 462 F. App’x 331, 333 (4th Cir. 2012)

(internal citations and quotation marks omitted). Even assuming that Plaintiff alleged sufficient

facts to establish the first and third elements of his claim, he has not and cannot allege any set of

facts that would make M&T a debt collector under the FDCPA.

       It is well-settled that provisions of the FDCPA apply only to debt collectors. Pollice v.

Nat’l Tax Funding, L.P., 225 F.3d 379, 400 (3d Cir. 2000). Thus, Plaintiff must, as a threshold

matter, demonstrate that M&T is a “debt collector.” Johnson v. BAC Home Loans Servicing, LP,

867 F. Supp. 2d 766, 777 (E.D.N.C. Sept. 29, 2011) (noting that a court must determine whether

the defendant is a “debt collector” as contemplated by the FDCPA before assessing whether

“Plaintiffs have validly stated claims of violations”); Moore v. Commonwealth Trs., LLC, 2010

WL 4272984, at *2 (E.D. Va. Oct. 25, 2010) (same). A “debt collector” is narrowly defined by

the FDCPA as:

       [A]ny person who uses any instrumentality of interstate commerce or the mails in
       any business the principle purpose of which is the collection of any debts, or who
       regularly collects or attempts to collect, directly or indirectly, debts owed or due
       or asserted to be owed or due to another.

15 U.S.C. § 1692a(6) (emphasis added).

       Not only does Plaintiff’s Complaint fail to allege that M&T’s principal purpose is the

collection of debts or that it regularly collects debts owed to another, but all of the allegations of




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the Complaint are founded upon M&T’s alleged collection activities with respect to its own

account with Plaintiff. (ECF No. 1, ¶¶ 11, 17-20). These allegations are fatal to Plaintiff’s

claim. “The FDCPA does not…apply to creditors collecting debts in their own names and whose

primary business is not debt collection.” Ramsay v. Sawyer Prop. Mgmt., LLC, 948 F. Supp. 2d

525, 531 (D. Md. May 31, 2013) (quoting Kennedy v. Lendmark Fin. Servs., RDB 10–02667,

2011 WL 4351534, at *3 (D.Md. Sept. 15, 20110). For this reason, Plaintiff’s claim under the

FDCPA must be dismissed. See Okoro v. Wells Fargo Bank, N.A., PX-16-0616, 2016 WL

5870031, at *10 (D. Md. Oct. 6, 2016) (dismissing FDCPA claim against lender because

creditors are “statutorily exempt from FDCPA liability”); Crowley v. JPMorgan Chase Bank,

Nat’l Ass’n, RDB-15-00607, 2015 WL 6872896, at *5 (D. Md. Nov. 9, 2015) (dismissing

FDCPA claim because plaintiff “concedes that Chase extended her credit creating a debt, and

that she owes Chase repayment of that debt. This is the definition of a creditor under the

FDCPA, and the FDCPA, generally, does not apply to creditors.”), aff’d, 684 F. App’x 324 (4th

Cir. 2017); Ramirez v. Wells Fargo Bank, N.A., PWG-14-3819, 2015 WL 5052787, at *6 (D.

Md. Aug. 25, 2015) (“‘[C]reditors are not liable under the FDCPA.’ Therefore, Wells Fargo, as

the creditor, cannot be liable under the FDCPA.” (internal citations omitted)), aff’d, 684 F.

App’x 324 (4th Cir. 2017); Ausar-El, PJM-12-0082, 2012 WL 3137151, at *2 (dismissing

FDCPA claim finding that “Barclays is a creditor seeking to collect debts [plaintiff] allegedly

owes, hence [it] is not subject to the FDCPA); Kennedy v. Ace Cash Express, CCB–10–1900,

2011 WL 1769444, at *3 (D. Md. May 9, 2011) (dismissing FDCPA claim because defendants

are creditors and therefore not “debt collectors” as defined by the FDCPA). Accordingly,

Plaintiff’s FDCPA claim must be dismissed.




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E. There is No Private Cause of Action Under Section 5 of the FTC Act (Count 5).

       Plaintiff devotes the last nine-pages of his complaint accusing M&T Bank of violating

Section 5 of the Federal Trade Commission Act (“FTC Act”), which proscribes “unfair or

deceptive acts or practices in or affecting commerce.” 15 U.S.C. § 45(a)(1). Like his other

claims, this claim fails as a matter of law because there is no private right of action for

consumers under the FTC Act. See Larson v. Nationstar Mortg., LLC, PX-18-0780, 2018 WL

5921406, at *4 (D. Md. Nov. 13, 2018) (“The FTC Act…does not allow for a private cause of

action. Consequently, Plaintiff's claim under the FTC Act can go no further.”) (internal citation

omitted). Michaud v. J.P. Morgan Chase Bank, N.A., WDQ-12-0815, 2012 WL 1454859, at *2

(D. Md. Apr. 25, 2012) (collecting cases where courts have held that private parties did not have

standing to sue under the FTC Act); Coulibaly v. J.P. Morgan Chase Bank, N.A., DKC-10-3517,

2011 WL 3476994, at *13 (D. Md. Aug. 8, 2011) (“Plaintiffs have no standing to bring an action

under Section 5 because ‘under the [FTC Act] no private party—consumer or competitor—has

standing to sue.’”) (quoting Penn–Plax, Inc. v. L. Schultz, Inc., 988 F. Supp. 906, 911 n. 1 (D.

(D.Md.1997)); see also A & E Supply Co. v. Nationwide Mut. Fire Ins. Co., 798 F.2d 669, 675

(4th Cir.1986) (“courts have declined to imply any private right of action [under the FTC Act]

and have relied upon the regulatory scheme to police the industry”). Accordingly, Plaintiff’s

claim under the FTC Act fails as a matter of law, and must be dismissed with prejudice.




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                                   V.     CONCLUSION

       For the foregoing reasons, Plaintiff’s Complaint fails to state a claim against M&T Bank

and should be dismissed.


                                               Respectfully submitted,

                                               /s/ Brian L. Moffet
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